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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:03-cr-00041-MP-AK

CLINTON A. FORD,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Defendant's oral motion to continue his sentencing

hearing currently scheduled for Friday, December 9, 2005. After considering the matter,

Defendant's motion is granted. Defendant's sentencing hearing is hereby rescheduled for

Wednesday, February 1, 2006, at 2:00 p.m.

       DONE AND ORDERED this           7th day of December, 2005


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
